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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA

PENSACOLA DIVISION
IN RE:
ROBERT C. GRETE and
TIFFANY L. GRETE CASE NO.: l3-30l6l-WSS
CHAPTER ll

Debtors-in-possession.

 

DEBTORS-IN-POSSESSION’S SECOND AMENDED
PLAN OF REORGANIZATION

 

Robert C. Grete and Tiffany L. Grete, also known as, the Debtors-in-Possession
(“Debtors”) hereby submit to their creditors their Second Amended Plan of
Reorganization (the “Plan”) pursuant to Chapter ll of Title 11, United States Code
(hereafter referred to as the “Bankruptcy Code” or the “Code”).

SUMMARY OF PLAN

The Debtors own five rental properties, all of which are located in the
Niceville/Valpariso area of Okaloosa County, Florida near the Fort Walton
Beach/Destin area. The properties were all purchased or refinanced at the height of the
real estate market but are now worth approximately half of the Value at the time the
market peaked. As a result, the properties are all subject to mortgages which exceed
the value of the properties In some cases, the properties are also subject to a second

mortgage

 

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The Debtors have filed a proposed Plan of Reorganization that bifurcates the
claims of the first mortgage holders on each of the properties based on the value of the
property (except for Class 3, which has made an election under §1111(b)). This
property will be surrendered. As to all first mortgage holders, other than Class 3, the
first mortgage holder will have a secured claim equal to the value of the property and
an unsecured claim for the balance owed. As to those properties which have a second
mortgage, 1305 N. 23rd Street (second mortgage- Real Time Solutions), 1092 Forest
Lake Terrace (second mortgage - Suntrust), and 110 Lincolnshire (second mortgage -
Real Time Solutions), the second mortgage will be "stripped" from the property since,
in each of those cases, there is no equity over and above the first mortgage to extend to
the second mortgage leaving the second mortgage "wholly unsecured". The second
mortgages will be treated as unsecured claims in Class 9.

The Debtors currently reside at 2413 Duncan Avenue which the Debtors have
valued in their schedules at $485,000.00. The property is subject to a first mortgage in
favor of Pennyl\/lac Loan Services with a balance of` approximately $1.2 million and a
second mortgage in favor of Credit Control, LLC, with a balance of approximately
$429,000.00. Pennyl\/lac has received relief from stay. The Debtor proposes to
surrender the property and will receive a credit equal to the value of the property. The
second mortgage held by Credit Control, LLC, will be treated as an unsecured claimo

Unsecured creditors, in Class 9, will be paid 6% of the allowed amount of` the
unsecured claim over a period of 60 months in equal monthly installments with interest

accruing at 4.5%.

 

 

 

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Administrative claims, owed to a priority creditor, other than the lnternal
Revenue Service, will be paid in full, upon the Effective Date. Any priority claims
owed to any taxing authorities will be paid over a period of 60 months from the
Effective Date with interest accruing at 4.5%. The priority claim of the Internal
Revenue Service, if any, will be paid in accordance with the Plan.

ARTICLE l
DEFINITIONS

Except as otherwise indicated, the terms used in this Plan have the definitions set
forth in the Bankruptcy Code and applicable Federal Rules of Bankruptcy Procedure and
the Local Rules of the United States Bankruptcy Court for the Northern District of`
Florida. In addition, the following terms shall have the following meanings:

1.l Allowed claim shall mean a claim (a) with respect to which a proof of
claim has been filed with the Court within the applicable period of limitation fixed by the
Federal Rules of Bankruptcy Procedure, Rule 3003, or (b) scheduled in the amended
schedules prepared and filed by the Debtors with the Court and not listed as disputed,
contingent or unliquidated as to amount, or (c) as set forth in the Debtors’ Plan or
Di`sclosure Statement, as filed or as subsequently amended, in either case, as to which no
objection has been then determined by an order of the Court which is no longer subject to
appeal. An allowed claim shall not include unmatured or post-petition interest unless
otherwise stated in the Plan.

1.2 Allowed secured claim shall mean an allowed claim secured by a lien or

other security interest in property of the Debtors to the extent of the value of the property

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as set forth in the Debtors’ Disclosure Statement or, if a valuation is requested by the
secured creditor, as determined pursuant to Section 5 06(a) of the Code.

1.3 Confirmation date shall mean the date upon which the Order of
Confirmation is entered by the Court.

1.4 QM shall mean the United States Bankruptcy Court for the Northern
District of Florida in which the Debtors’ Chapter 11 case is pending or any Court having
competent jurisdiction to hear appeals from the Bankruptcy Court,

1.5 QM shall mean Robert C. Grete and Tiffany L. Grete, the Debtors-in-
Possession and the proponent of this Plan of Reorganization.

1.6 Effective Date shall mean the date following the confirmation date after
which no appeal of the Order of Confirmation can be taken and the date upon which all
conditions precedent to the effectiveness of the Plan has occurred or been waived and
upon which Counsel for the Debtors files a Notice of Effective Date with the Bankruptcy
Court.

1.7 Order of Confirmation shall mean the Order entered by the Court
confirming the Plan With the provisions of Chapter 11 of the Code.

1.8 m shall mean this Chapter 11 Plan of Reorganization as amended,
modified or altered in accordance with the Code.

1.9 Present Value shall mean the value, as of the Effective Datel of the Plan, of
property to be distributed under the Plan and shall refer to the amount payable to
creditors holding an Allowed Claim or an Allowed Secured Claim in deferred payments

at a rate of interest on the Allowed Claim of Allowed Secured Claim that is necessary to

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realize to such Holder the value of such claim as of the Effective Date of the Plan.
Unless the Holder of an Allowed Claim or an Allowed Secured Claim objects prior to the
commencement of the Confirmation Hearing, or unless this Plan specifically and
expressly provides differently, the rate of interest necessary to realize such value shall be
deemed to be four and a half percent (4.5%) per annum; provided, however, that in the
event of an objection to such rate by the Holder of any Allowed Claim or Secured Claim,
the rate of` interest necessary to realize such Holder the Present Value of the allowed
amount of such Holder’s Claim shall be such rate as determined by the Court. As to a
Holder(s) of a Claim(s) in a Class who objects to the interest rate, payments to be made
pursuant to the Plan shall be computed based upon four and a half percent (4.5%) unless
and until the Court determines otherwise in a Final Order, in which event the rate of
interest will be adjusted accordingly

1.10 Term of the Plan shall mean the period after the Effective Date during
which payments are being made to the creditors.

ARTICLE ll
CLASSIFICATION AND TREATMENT OF CLAIMS

The claims of creditors and interests are classified and shall be treated as follows:
2.1 (A) Administrative Expense Claims: Class 1

1. Allowed Administrative Expense Claims Against the Debtors. Subject to
the bar date provisions of Paragraph 2 _of this Section, the holders of Allowed
Administrative Expense Claims against the Debtors, unless otherwise agreed or set forth

in this Plan, are entitled to priority under Section 507(a)(2) of the Bankruptcy Code. An

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Entity entitled to payment pursuant to Sections 546(0) or 553 of the Bankruptcy Code,
and any Entity entitled to payment of an Administrative Expense Claim pursuant to
Sections 503 and 507(a)(2) of the Bankruptcy Code, shall receive from the Debtors, on
account of such Allowed Administrative Expense Claim, cash in the amount of such
Allowed Administrative Expense Claim on the Effective Date, or pursuant to an
agreement between the Debtors and the Claimant, whichever comes later.

2. Bar Date for Filing Applications for Allowance and Pavment of Other
Administrative Expense Claims. Applications for allowance and payment of
Administrative (except'for Professional Fee Claims) must be filed on or within fifteen
(15) days after the Confirmation Hearing. The Court shall not consider any applications
for the allowance of an Administrative Expense Claim incurred prior to Confmnation that
are filed after such fifteen (15) day period, and any such Administrative Expense Claim
shall be discharged and forever barred. All Administrative Expense Claims that become
Allowed Administrative Expense Claims after the Confirmation Hearing will be treated
like other Allowed Administrative Expense Claims and will be paid on the later of the
Effective Date, within thirty (30) days after becoming an Allowed Administrative
Expense Claim, or pursuant to an agreement between the Debtors and the Claimant. Any
such Claim that is allowed, but determined not be an Administrative Expense Claim, will
be treated as a General Unsecured Claim under Class I.

3. Pavment of Deferred Administrative Expenses. To the extent that
Debtors do not have at any time prior to entry of a Final Decree sufficient funds to pay

Holders of Allowed Administrative Expense Claims and the Holders of such Claims

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agree to defer some or a portion of their Claim, such Holder(s) shall be paid Pro Rata
with Holders of Professional Fee Claims.
2.1(B) Professional Fee Claims.

1. Allowed Professional Fee Claims Against the Debtors. Holders of
Allowed Professional Fee Claims shall receive from the Debtors, on account of such
Allowed Professional Fee Claim, cash in the amount of such Allowed Professional Fee
Claim on or before Effective Date, or pursuant to an agreement between the Debtors and
the Claimant, whichever comes later.

2. Bar Date for Filing Application for Allowance and Pavment of Fee Claims

 

Against the Debtors. Holders of Professional Fee Claims shall file any final applications
for allowance and payment of Professional Fee Claims within sixty (60) days after the
Confirmation Date. The Bankruptcy Court shall not consider any applications for the
allowance of a Professional Fee Claim filed after such date, and any such Professional
Fee Claim shall be discharged and forever barred. All Professional Fee Claims that
become Allowed Professional Fee Claims after the Confirmation date will be treated like
other Allowed Professional Fee Claims and will be paid on the later of the Effective or
within Thirty (3 0) days after becoming an Allowed Professional Fee Claim unless
otherwise ordered by the Bankruptcy Court or agreed to by the Debtors and the Claimant.

3. Pavment of Deferred Professional Fee Claims. To the extent that Debtors
does not have at any time prior to entry of a Final Decree sufficient funds to pay the
Holders of Professional Fee Claims and the holders of such Claims agree to defer some

or a portion of their claim, such holder(s) shall be paid Pro Rata with Holders of Allowed

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Administrative Expense Claims by the Debtors.1
2o1 (C) Priority Claims and Priority Tax Claims.

l. Allowed Priority Claims Against the Debtors. Subject to the bar date
provisions of Paragraph (2) of this Section, the holders of Allowed Priority Claims (other
than priority tax claims as set forth below) against the Debtors shall receive from the
Debtors on account of such Allowed Priority Claims, cash in the amount of such Allowed
Priority Claim on the later of the Effective Date, within thirty (30) days after becoming
an Allowed Priority Claim, or pursuant to an agreement between the Debtors and the
Claimant.

2. Bar Date for filing Priority Claims0 Applications for allowance and
payment of Priority Claims incurred on or before the Petition date must have been filed
by the Bar Date. The Bankruptcy Court shall not consider any applications for the
allowance of any Priority Claim filed after such date, and any such Priority Claim shall
be discharged and forever barred. All Priority Claims that become Priority Claims after
the Confirmation Date will be treated like other Priority Claims and will be paid on the
later of the Effective Date, within thirty (30) days after becoming a Priority Claim, or
pursuant to an agreement between the Debtors and the Claimant. Any such Claim that is
allowed, but determined not to be a Priority Claim, will be treated as a General
Unsecured Claim under Class 9.

3. Allowed Priority Tax Claims Against the Debtors. Subj ect to the bar date
provisions of Paragraph (4) of this Section, the Holder of an Allowed Priority Tax Claim

against the Debtors shall receive from the Debtors on account of such Allowed Priority

 

 

 

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Tax Claim, an amount equal to their Allowed Claim paid in equal, consecutive monthly
payments over a five year term commencing the first full month after the Effective Date
of the Plan. Anything herein to the contrary notwithstanding, the Holder(s) of Priority
T ax Claims for ad valorem real property or tangible personal property taxes shall be
treated and paid under Class 2 or Class 3.

4. Bar Date for Filing Priority Tax Claims. Applications for allowance and
payment of Priority Tax Claims incurred on or before the Petition Date must have been
filed by the Bar Date. The Bankruptcy Court shall not consider any applications for the
allowance of any Priority Tax Claim filed after such date, and any such Priority tax Claim
shall be discharged and forever barred. All Priority Tax Claims that become Priority Tax
Claims after the Confirmation Date shall be treated like other Priority Tax Claims and
will be paid on the later of the Effective Date, within thirty (30) days after becoming an
Allowed Priority Tax Claim, or pursuant to an agreement between the Debtors and the
Claimant. Any such Claim that is allowed, but determined not to be a Priority Tax
Claim, will be treated as a General Unsecured Claim under Class 9.

2.1 (D)U.S. Trustee’s Fees.

The Debtors shall timely pay post-Confirmation quarterly fees assesses pursuant
to 28 U.S.C. Section 1930(a)(6) until such time as the Bankruptcy Court enters a Final
Decree closing the Bankruptcy Case. Any such fees outstanding and due as of the

Effective Date shall be paid on the Effective Date.

 

 

 

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2.2 Unsecured Priority Claim of the lnternal Revenue Service: Class 2

The lnternal Revenue Service filed an Unsecured Priority Claim for income taxes
owed by the Debtors for tax year ending 12/31/2012, which estimated the tax to be
$3,943.80. Subsequently, Debtors filed a return for tax year 2012, which showed no
taxes owing. T he IRS has now filed an Amended Claim number 4-2, which shows its
claim amount as $0.00. Accordingly, no payments will be made to the IRS for any pre-
petition tax claims under this plan.
2.3 Secured Claim of Seterus/FNMA ( 906 Nutmeg): Class 3

Seterus/FNMA holds a claim in the amount of $217,906.66, as of the petition
date, secured by real property located at 906 Nutmeg, Niceville, Florida. The Debtors
have valued the property securing the debt at $80,000.00. Seterus/FNMA does not object
to this valuation A.ccordingly, the value of the property shall be deemed to be
$80,000.00. Debtors will surrender the property to FNl\/IA and shall receive a credit
towards the debt in the amount of $80,000.00. The balance of the debt shall be deemed
to be an unsecured debt which will be paid in accordance with the provisions of
paragraph 2,9.
2.4 Secured Claim of BAC Home Loans ( 1305 N. 23rd Street): Class 4

BAC Home Loans holds a claim in the amount of $109,000.00, as of the petition
date, secured by real property located at 1305 N. 23rd Street, Niceville, Florida. The
Debtors and BAC Home Loans have an agreement regarding the value of the property.
Debtors and Creditor agree that for purposes of the Plan, the value of the Debtor's real

property located at 1305 N. 23rd Street, Niceville, Florida, shall be $92,500.00.

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Accordingly, the claim of BAC Home Loans shall be bifurcated and BAC Home Loans
shall have a secured claim in the amount of $92,500.00 (Class 4) and an unsecured claim
for the balance as a claim in Class 9, General Unsecured Claims. The secured claim in
the amount of $92,500.00 shall be amortized over 20 years with an interest rate of 5.25%
per annum. The claim shall be payable in consecutive equal monthly installments in the
amount of $623.31 with the first payment to be made on the first day of the first full

month after the Effective Date. Debtors shall repay creditor all amounts advanced by

creditor, pursuant to the mortgage, for advances for taxes or insurance that were paid

after the date the Debtors' petition was filed initiating this case, February 13, 2013 and
which are paid by creditor through the date of confirmation of Debtors' plan. As of the
date of this Second Amended Plan, the amounts which Debtors must pay for post-petition
advances is $2,585.19. The post-petition advances shall be paid in equal monthly
installments over 60 months commencing on the first day of the first full month after the
Effective Date. Creditor shall file a statement for any additional post-petition advances
no later than the date of the confirmation hearing If a statement of additional post-
petition advances is not filed, the additional amounts claimed shall not be allowed.
Debtors shall pay all escrows for taxes and insurance which come due after confirmation
These amounts may be added to the monthly payment amount by the creditor. The
creditor shall retain its lien until the time that this claim is paid in full. This claim is

impaired

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2.5 Secured Claim of Bank of America, N.A. ( 1092 Forest Lake Terrace): Class 5
Bank of America, N.A., holds a claim in the amount of $197,656.06, as of the
petition date, secured by real property located at 1092 Forest Lake Drive, Niceville,
Florida. The Debtors and Bank of America, N.A, have reached an agreement regarding
the value of the property. Debtors and Creditor agree that for purposes of this Plan, the
value of Debtor's real property located at 1092 Forest Lake Terrace, Niceville, Florida
shall be $160,000.00. Accordingly, the claim of Bank of America, N.A¢j shall be
bifurcated and Bank of America, N.A., shallhave a secured claim in the amount of
$160,000.00 (Class 5) and an unsecured claim for the balance as a claim in Class 9,
General Unsecured Claims. The secured claim in the amount of $160,000.00 shall be
amortized over 30 years with an interest rate of 5.25% per annum. The claim shall be
payable in consecutive equal monthly installments in the amount of $883.53 with the first
payment to be made on the first day of the first full month after the Effective Date.
Debtors shall repay creditor all amounts advanced by creditor, pursuant to the mortgage,
for escrows for taxes or insurance that were paid after the date the Debtors' petition was
filed initiating this case, February l3, 2013 and which are paid by creditor through the
date of confirmation of Debtors’ plan. The post-petition advances shall be paid in equal
monthly installments over 60 months commencing on the first day of the first full month
after the Effective Date. Creditor shall file a statement for post-petition advances no later
than the date of the confirmation hearing. If a proof of claim for post-petition advances is
not filed, the amounts claimed shall not be allowed Debtors shall pay all escrows for

taxes and insurance which come due after confirmation These amounts may be added to

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the monthly payment amount by the creditor. The creditor shall retain its lien until the
time that this claim is paid in full. T his claim is impaired
2.6 Secured Claim of Bank of New York l\/lellon (110 Lincolnshire): Class 6

Bank of New York l\/lellon holds a claim in the amount of $127,769,28, as of the
petition date, secured by real property located at 110 Lincolnshire, Niceville, Florida.
The Debtors have valued the property securing the debt at $115,000.00. If no objection
to this valuation is filed by the last date for objections to confirmation of Debtor's Plan,
the claim of Bank of New York Mellon shall be bifurcated and Bank of New York
Mellon shall have a secured claim in the amount of $115,000.00 (Class 6) and an
unsecured claim for the balance as a claim in Class 9, General Unsecured Claims. The
secured claim in the amount of $115,000.00 shall be amortized over 20 years with an
interest rate of 5.25% per annum. The claim shall be payable in consecutive equal
monthly installments in the amount of $774.92 with the first payment to be made on the
first day of the first full month after the Effective Date. Debtors shall repay creditor all
amounts advanced by creditor, pursuant to the mortgage, for escrows for taxes or
insurance that were paid after the date the Debtors' petition was filed initiating this case,
February 13, 2013 and which are paid by creditor through the date of confirmation of
Debtors' plan. The post-petition advances shall be paid in equal monthly installments
over 60 months commencing on the first day of the first full month after the Effective
Date. Creditor shall file a statement for post-petition advances no later than the date of
the confirmation hearing. If a statement for post-petition escrows is not filed, the

amounts claimed shall not be allowed Debtors shall pay all escrows for taxes and

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insurance Which come due after confirmation These amounts may be added to the
monthly payment amount by the creditor. The creditor shall retain its lien until the time
that this claim is paid in full. This claim is impaired
2.7 Secured Claim of Nationstar Mortgage (21 Kelly WaV)Z Class 7

Nationstar Mortgage holds a claim in the amount of 3120,000.00, as of the
petition date, secured by real property located at 21 Kelly Way, Niceville, Florida. The
Debtors have valued the property securing the debt at $70,000.00. Nationstar Mortgage
does not object to this valuation Accordingly, the claim of Nationstar l\/lortgage shall be
bifurcated and Nationstar l\/lortgage shall have a secured claim in the amount of
$70,000.00 (Class 7) and an unsecured claim for the balance as a claim in Class 9,
General Unsecured Claims. The secured claim in the amount of $70,000.00 shall be
amortized over 20 years with an interest rate of 5 .25% per annum. The claim shall be
payable in consecutive equal monthly installments in the amount of $471.69 with the first
payment to be made on the first day of the first full month after the Effective Date.
Debtors shall repay creditor all amounts advanced by creditor, pursuant to the mortgage,
for taxes or insurance that were paid after the date the Debtors' petition was filed
initiating this case, February 13, 2013 and which are paid by creditor through the date of
confirmation of Debtors' plan. As of the date of this Second Amended Plan, the amounts
which Debtors must pay for post-petition advances is $480..79. The post-petition
advances shall be paid in equal monthly installments over 60 months commencing on the
first day of the first full month after the Effective Date. Creditor shall file a statement for

any additional post-petition advances no later than the date of the confirmation hearing.

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If a statement for any additional post-petition advances is not filed, the amounts claimed
shall not be allowed Debtors shall pay all escrows for taxes and insurance which come
due after confirmation These amounts may be added to the monthly payment amount by
the creditor. The creditor shall retain its lien until the time that this claim is paid in full.
This claim is impaired
2.8 Secured Claim of Pennyl\/lac Loan Services- ( 2413 Duncan Avenue): Class 8

Pennyl\/.[ac holds a claim in the amount of $1,259,845.96 as of the petition date,
secured by the real property located at 2413 Duncan Avenue, Niceville, Florida. The
Debtors have agreed to surrender the property. Debtors shall receive a credit equal to the
value of the property. If the Debtors and Pennyl\/Iac cannot reach an agreement as to
value, the value will be determined by the Court. The balance of the debt will be deemed
to be an unsecured claim and will be paid pursuant to the provisions of paragraph 2.9.
Nothing in this paragraph shall be deemed to prevent the Debtor and Pennyl\/lac (or its
successors or assigns) from entering into a mortgage modification outside of the
bankruptcy case and outside of the provisions of this plan
2.9 General Unsecured Claims: Class 9

T his class consists of claimants who have a general, non-priority unsecured claim
greater than $1,000.00. Holders of allowed claims in this class will be paid 6% the
present value of the allowed claim in equal consecutive monthly payments over a period
of five years commencing on the first day of the first full month after the Effective Date
of this Plan. Creditors in this class will receive a promissory note evidencing the debt,

which shall accrue interest at 4.5%. Claims in this Class are impaired

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2.9(a) General Unsecured Claims of Less than $1000.00 (Administrative Ease): Class
9(§)

This Class consists of claimants who have a general, non-priority unsecured claim
less than $1000.00. For purposes of administrative ease, claimants in this Class shall be
paid in a one-time lump sum payment 6% of the present value of the allowed amount of
the value of their claim no later than 60 days after the Effective Date of the Plan.

2.10 Claims of Creditors Holding Second Mortgages: Real Time Solutions, Suntrust,
Credit Control, LLC: Class 10

Creditors, Real Time Solutions, Suntrust, and Credit Control, LLC, are included
in this class because each of these creditors holds a second mortgage on one or more of
the Debtors' properties. Because, in each case, the value of the property securing the
mortgage is worth less than the balance owed on the first mortgage, the second mortgage
is deemed to be "wholly unsecured." As to each of the second mortgages held by
creditors listed in this class, the second mortgage shall be stripped and upon the Effective
Date shall be deemed to no longer be a lien on the property. Any objection to the
valuation as set forth in paragraph 4.3 of this Plan, must be filed with the Court and a
request for valuation under section 506(a) of the Bankruptcy Code. If no objection to
valuation is filed, the values set forth in the Disclosure Statement, or any amendment
thereto, shall be binding for purposes of this paragraph Creditors in this Class 10 shall

be paid as a general unsecured creditor under the provisions of paragraph 9.

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2.11 Claim of the United States Trustee for Ouarterlv Fees: Class 11
The Debtor shall continue to pay the required quarterly fees to the U.S. Trustee’s
Office until the case is closed by dismissal or the entry of a final decree, or until the case
is converted to Chapter 7.
ARTICLE III
EXECUTORY COl\lTRACTS AND UNEXPIRED LEASES
3 .1 The Debtors are landlords under leases entered into With the tenants of the various
rental properties Upon confirmation of the Debtors' Chapter ll Plan, the leases will all
be deemed to have been assumed by the Debtors
ARTICLE IV
l\/IEANS AND IMPLEMENTATION OF THE PLAN

4.1 l\/Ieans and lmplementation.

 

The Debtors propose to fund their Chapter ll Plan through two different
sources of income. First, the Debtors receive income from their employment with BPN
Outside the Box, LLC, a company owned by the Debtors Robert Grete receives the
sum of $1,000.00 per month as a salary. Tiffany Grete receives $1,250.00 per month
as a salary. Additionally, each of the Debtors receives monthly distributions from the
corporation in the amount of $3,250.00 each for a total of $6,500.00 per month. After
the payment of reasonable and necessary living expenses, the balance of the income
from the operation of the business will be devoted to the Plan

In addition to the income from the operation of their business, the Debtors also

receive monthly rental income from the rental properties The Debtors receive gross

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income of approximately $4,825.00 per month. From this amount, the Debtors pay
expenses of ownership (excluding payments to secured creditors on mortgages) in the
amount of $1581.90. This includes costs for insurance, taxes, and periodic
maintenance The net rental income will be combined with the Debtors' income from
the operation of their business from which payments will be made to the secured
creditors holding mortgages on the re-amortized secured claims secured by the rental
properties The funds will also be used to pay monthly payments to unsecured
creditors over a period of 60 months from the Effective Date.
4.2 Real Propertv Owned by the Debtors

The Debtors own six parcels of real property which includes the Debtors'
principal residence located at 2413 Duncan Avenue and the five rental properties The
properties owned by the Debtors, together with the Debtors' estimate of the value of
each property are as set forth below. Upon confirmation of the Plan, the values set
forth in this section shall be deemed to be the values of the property. Any objection to
the valuation must be filed with the Court in the form of an Objection to the Disclosure
Statement and a request for valuation under section 506(a) of the Bankruptcy Code. If
an objection to the valuation of the parcel of property is filed, the value will be as
agreed upon by the parties, or if no agreement can be reached, as determined by the
Court:

VALUATION OF REAL PROPERTY
1. 906 Nutmeg, Niceville, Florida. Fair market value: $80,000.00.

2. 1305 North 23rd Street, Niceville, Florida. Fair market value:
$92,500.00

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3. 1092 Forest Lake Terrace, Niceville, Florida. Fair market value:
$160,000.,00.,

4. 110 Lincolnshire, Niceville, Florida. Fair market value: $115,000.00.
5. 21 Kelly Way, Valpariso, Florida. Fair market value: 3570,000.004

6. 2413 Duncan Avenue, Niceville, Florida, Fair market value:
$485,000.00.

4.3 Corporations Owned bv the Debtors

The Debtors own the company BPN Outside the Box, LLC, which was formed
on October 4, 2011. The LLC is owned 90% by the Debtors, Robert C. Grete and
Tiffany L. Grete. The business operates at 1130 B Hospital Road, Fort Walton Beach,
Florida 32547, which is a leased property. The business provides construction and
renovation services Its focus, however, is providing large scale construction drawings
for contractors and architects The business generates approximately $8,750.00 per
month in total income to the Debtors Financial information regarding the LLC, its
income and expenses and profit and losses for 2012 and projections for income for the
term of the Plan is attached hereto as "Exhibit B" to the Disclosure Statement.
4.4 Modification of Existing Notes

Upon the Effective Date of the plan, the promissory notes or any other
instruments evidencing any claim shall be deemed to be modified in accordance with the
provisions of the confirmed plan without the necessity for the execution of modification
agreements except to the extent that a new mortgage must be recorded to evidence any

new term under the plan.

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4.5 Objections to Claims

The Debtor may object to any claim filed with the Bankruptcy Court and may
object to and contest the allowance of any such claims Within 21 days after service of
the obj ection, written responses must be filed with the Bankruptcy Court by the holder of
the claim. Failure to file a written response shall constitute a waiver and release of the
claim.

4.6 Disputed Claims
No distribution shall be made on any disputed claim-until such time as the claim
is resolved by agreement of the parties or by an order of the Bankruptcy Court.
ARTICLE V
ACCEPTANCE OR REJECTION OF THE PLAN
5.1 Classes Entitled to Vote

Each holder of an Allowed Claim in a Class of Claims against the Debtors which
may be impaired and is to receive a distribution under the Plan shall be entitled to vote
separately to accept or reject the Plan. Each holder of a claim in a Class of Claims which
is unimpaired under the Plan shall be deemed to have accepted the Plan pursuant to
Section 1126(f) of the Bankruptcy Code.

5.2 Cramdown

Under the Plan there are impaired classes of claims In the event that it is
determined that there are impaired class or classes of claims that do not accept the Plan,
the Debtors as proponent of the Plan reserves the right to (a) request that the Bankruptcy

Court confirm the Plan in accordance with Section ll29(b) of the Bankruptcy Code

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and/or (b) modify the Plan to provide treatment sufficient to assure that the Plan does not
discriminate unfairly, and is fair and equitable, with respect to the class or classes not
accepting the Plan, and, in particular, the treatment necessary to meet the requirements of
Sections 1129(a) and (b) of the Bankruptcy Code with respect to the rejecting classes and
any other classes affected by such modifications The Plan may be the subject of
cramdown under Section 1129(b).
ARTICLE VI
EFFECT OF CONFIRMATION OF PLAN

6.1 Effect of Confirmation

A. Vesting of Assets. On the Effective Date, all property of the estate shall
vest in Robert C. Grete and Tiffany L. Grete, reorganized Debtors, in accordance with the
provisions of Section 1141(b) of the Bankruptcy Code This Plan does not provide any
exceptions to such vesting

B. Discharge of Debtors The Debtors are entitled to a discharge pursuant to
the terms of Section 1141(d)(5) upon completion of all plan payments or as otherwise set
forth in S'ection ll4l(d)(5).

C. Exculpations The professionals retained by the Debtors shall have no
liability to any holder of a claim or other person for any act, event or omission in
connection with, relating to, or arising out of, the Bankruptcy Case, the negotiation of the
Plan, the Consummation of the Plan, the administration of the Plan, or the property to be
distributed under the Plan, except for any liability based on willful misconduct or gross

negligence In all such instances, the above referenced parties shall be and have been

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entitled to reasonably rely on the advice of counsel with respect to their duties and
responsibilities in connection with the Bankruptcy Case and under the Plan. Such
exculpation shall not extend to any post-petition act of any party other than in connection
with that party’s official capacity in the Bankruptcy Case.

D. Injunction. Except as otherwise expressly provided in the Plan, the
Confirmation Order or a separate order of the Bankruptcy Court, all entities who have
held, hold or may hold Claims against, or interests in, the Debtors, are permanently
enjoined, on and after the Effective Date, from (a) commencing or continuing in any
manner any action or other proceeding of any kind with respect to any such Claim or
lnterest, (b) the enforcement, attachment, collection or recovery by any manner or means
of any judgment, award, decree or order against the Debtors, (c) creating, perfecting or
enforcing any encumbrance of any kind against the Debtors or against Debtors's Assets or
the Property, and (d) asserting any right of setoff, subrogation or recoupment of any kind
against any obligation due from the Debtors or against the Property or interests in
property of the Debtors on account of any such Claim or Interest.

E. Releases. Upon the Effective Date and in consideration of the
distributions to be made hereunder, except as otherwise expressly provided herein, each
Holder (as well as any agents on behalf of each holder) of a Claim shall be deemed to
have forever waived, released, and discharged the Debtors and attorneys for the Debtors,
including J. Steven Ford and Wilson, I-Iarrell, Farrington, Ford, Wilson, Spain & Parsons,
P.A.., to the fullest extent permitted by Section 1141 of the Bankruptcy Code, of and

from any and all Claims, rights and liabilities that arose after the commencement of this

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Case and prior to the Effective Date.

As of the Effective Date, the Debtors, and their respective agents, accountants
financial consultants and attorneys, including Professionals (acting in such capacity),
shall neither have nor incur liability to any Entity for any action taken or omitted to be
taken in connection with or related to the formulation, preparation, dissemination,
implementation, Confirmation or consummation of the Plan, or Disclosure Statement, or
earlier versions of same or any contract, instrument, release or other agreement or
documents created or entered into, or any other action taken or omitted to be taken in
connection with this Plan or this Chapter ll Case; provided, however, that the foregoing
provisions of this Section shall have no effect on the liability of any Entity that would
otherwise result from any such action or omission to the extent that such action or
omission is determined in a Final Order to have constituted willful misconduct

The injunction, release, and exculpation provisions contained in the Plan are fair
and equitable, are given for valuable consideration, and are in the best interests of the
Debtors and its Chapter ll Estate, and such provision shall be effective and binding upon
all Entities.

6.2 Term of Iniunction or Stavs.

Unless otherwise provided herein or otherwise ordered by the court, all
injunctions or stays set forth in Sections 105 or 362 of the Bankruptcy Code (11 U.S.C.
§§105 and 362) shall remain in full force and effect until the Effective Date rather than
the Confirmation Date Nothing in this Section, however, shall be construed as a

limitation of the permanent discharge and injunction provisions provided for in this

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Plan.
ARTICLE VH

CONDITIONS PRECEDENT TO EFFECTIVE DATE

The Effective Date shall occur and will commence upon the date that all
conditions to the effectiveness of the Plan have been satisfied or waived, and which
shall be evidenced by the Debtors's counsel filing a Notice of Effective Date with the
Bankruptcy Court. The occurrence of the Effective Date and the Substantial
Consummation of the Plan are subject to satisfaction of the following conditions
precedent:

7 .1 Confirmation Order.

The Confirrnation Order shall have become a Final Order and be in full force and

effect

7.2 Execution of Documents; Other Actions.

All other actions and documents necessary to implement the Plan shall have

been executed and no conditions to the respective effectiveness thereof shall exist.

7.3 Pavment of all Allowed Administrative Claims and Allowed Professional Fee

Claims

All Allowed Administrative Claims and Allowed Professional Fee Claims shall

be paid by the Debtors to the extent provided herein

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7 .4 Waiver.

ln its sole discretion, the Debtors may waive any condition precedent, in its

favor, to confirmation and to the occurrence of the Effective Date

ARTICLE XIH
RETENTION OF JURISDICTION
8.1 To the maximum extent permitted by the Bankruptcy Code or other applicable
law, the Bankruptcy Court shall have jurisdiction of all matters arising out of, and
related to, the Bankruptcy Case and the Plan pursuant to, and for the purposes of,
sections lO5(a) and 1142 of the Bankruptcy Code and for, among other things the

following nonexclusive purposes:

(1) To construe and to take any action to enforce this Plan and to issue
such orders as may be necessary for the implementation, execution and confirmation

of this Plan;

(2) To hear and determine the allowance or classification of Claims or
Existing Equity Holders' Claims and to determine any objections thereto and/or the
subordination thereof;

(3) To determine rights to Distribution pursuant to this Plan;

(4) To hear and determine applications for the assumption or rejection of
executory contracts or unexpired leases and the allowance of Claims resulting

therefrom;
(5)\ To determine any .and all applications motions adversary proceedings

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contested matters and other litigated matters that may be pending in the Bankruptcy Court

on or initiated after the Effective Date;

(6) To hear and determine any objection to Administrative Expense Claims or

Claims;

(7) To hear and determine any Causes of Action brought or continued by or

against the Debtors to the maximum extent permitted under applicable law;

(8) To enter and implement such orders as may be appropriate in the event the

Confirmation Order is for any reason stayed, revoked, modified, or vacated;

(9) To determine such other matters and for such other purposes as may be

provided in the Confirmation Order;

(10) To hear and determine matters concerning any Release and to enforce the

injunctions set forth in the Plan;

(11) To consider any modifications of the Plan, to cure any defect or omission,
or reconcile any inconsistency in any order of the Bankruptcy Court, including, without

limitation, the Confirmation Order;

(12) To hear and determine all Fee Applications as well as objections to

payment of fees and expenses

(13) To hear and determine disputes arising in connection with the
interpretation, implementation or enforcement of the Plan or any transactions

contemplated by the Plan;

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(14) To hear and determine all questions and disputes regarding title to, and
any action to recover any of, the Assets or property of the Debtors or its estate, wherever

located;

(15) 'l`o hear and determine matters concerning state, local, and Federal taxes in

accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

(16) To consider and act on the compromise and settlement of any claim

against the Debtors or its estate;

(17) To hear any other matter not inconsistent with the Bankruptcy Code;
provided, that with respect to consideration issued to parties in interest under the Plan, the

Bankruptcy Court shall have no further jurisdiction; and
(18) To enter a Final Decree closing the Bankruptcy Case.

(19) To consider and/or enforce the rights and claims of the parties under and
pursuant to all documents or agreements entered into pursuant to the Plan or necessary

for the effectiveness thereof under this Plan.

ARTICLE IX

l MISCELLANEOUS

9.1 Binding Effects.

The Plan shall be binding upon and inure to the benefit of the Debtors the

holder of Claims and Equity Interests and their respective successors and assigns

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9.2. Successors and Assigns.

The rights benefits and obligations of any Entity named or referred to in the
Plan shall be binding on, and shall inure to the benefit of, any heir, executor,
administrator, successor or assign of such Entity.

9.3. Defects, Omissions Amendment and l\/lodification` of the Plan; Severabilitv.

(1) Defects Omissions, Amendments and l\/lodifications. The Debtors may,

with the approval of the Bankruptcy Court and without notice to holders of Claims

 

insofar as it does not materially and adversely affect holders of Claims correct any
defect, omission, or inconsistency in the Plan in such a manner and to such extent
necessary or desirable to expedite the execution of the Plan. The Debtors or
Reorganized Debtors may propose amendments or alterations to the Plan before or
after confirmation as provided in section 1127 of the Bankruptcy Code if, in the
opinion of the Bankruptcy Court, the modification does not materially and adversely
affect the interests of holders of Claims so long as the Plan, as modified, complies
with sections 1122 and 1123 of the Bankruptcy Code and the Debtors has complied
with section 1125 of the Bankruptcy Code The Debtors or Reorganized Debtors may
propose amendments or alterations to the Plan before or after the Confirmation Date
but prior to substantial Consummation, in a manner that, in the opinion of the
Bankruptcy Court, does not materially and adversely affect holders of Claims so long
as the Plan, as modified, complies with sections 1122 and 1123 of the Bankruptcy
bode, the Debtors has complied with section 1125 of the Bankruptcy Code, and after
notice and hearing, the Bankruptcy Court confirms such Plan, as modified, under

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section 1129 of the Bankruptcy Code.

(2) Severability. In the event that the Bankruptcy Court determines prior
to the Confirmation Date, that any provision in the Plan is invalid, void or
unenforceable, such provision shall be invalid, void or unenforceable with respect to
the holder or holders of such Claims or Equity lnterests as to which the provision is
determined to be invalid, void or unenforceable The invalidity, voidness or
unenforceability of any such provision shall in no way limit or affect the enforceability
and operative effect of any other provision of the Plan.

9.4. Revocation or Withdrawal of the Plan.

(1) The Debtors reserves the right to revoke or withdraw the Plan prior
to the Confirmation Date.

(2) lf the Plan is revoked or withdrawn prior to the Confinnation Date
the Plan shall be deemed null and void In such event, all of the Debtors's and
Creditor’s respective obligations shall remain unchanged and nothing contained herein
or in the Disclosure Statement shall be deemed an admission or statement against
interest or to constitute a waiver or release of any claims by or against the Debtors or
any other Person or to prejudice in any manner the rights of. any Debtors or any
Person in any further proceedings involving the Debtors
9.5. l\l_o_t_i_c@

Any notice required or permitted to be provided under the Plan shall be in writing and

served by either (i) certified mail, return receipt requested, postage prepaid, (ii) hand

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delivery, or (iii) reputable overnight delivery service, freight prepaid, to be addressed as
follows:

J. Steven Ford, Esq.

Wilson, Harrell, Farrington, Ford,

Wilson, Spain, & Parsons, P.A.

307 S. Palafox Street

Pensacola, FL 32502

(850) 438-1111 Telephone

(850) 432-8500 Facsimile

Counsel for the Debtors

All notices requests elections or demands to or upon the Debtors or the
Reorganized Debtors in connection with the Plan shall be in writing and shall be deemed
to have been given when received or, if mailed, three (3) days after the date of mailing
provided such writing shall have been sent by registered or certified mail, postage
prepaid, return receipt requested, and sent to the above address All notices to Claimants,
Creditors and Equity Interest holders shall be sent to their last known address The
Debtors and any Claimant, Creditor, or Equity lnterest holder, may designate in writing
any other address for purposes of this Section, which designation shall be effective upon
receipt.
9.6. No Admissions.

Notwithstanding anything herein to the contrary, nothing contained in the Plan

shall be deemed an admission by any entity with respect to any matter set forth herein

9.7. Pavment of Statutorv Fees.

For so long as the Debtors' Bankruptcy Case shall remain open and pending before

the Court, all fees payable pursuant to section 1930 of Title 28 of the United States Code

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shall be paid by the Reorganized Debtors

9.8 Exemption from Certain Taxes.

Pursuant to Section 1146(c) of the Bankruptcy Code, any transfers from the
Debtors to any person or Entity pursuant to the Plan, any mortgage entered into by
Debtors in favor to any Creditor pursuant to the terms of this Plan, shall not be subject to
any document recording tax, stamp tax, conveyance fee, intangibles or similar tax,
mortgage tax, stamp act, real estate transfer tax, mortgage recording tax, or other similar
tax or governmental assessment, and the Confirmation Order,shall direct the appropriate
state or local government officials or agents to forego the collection of any such tax or
govermnental assessment and to accept for filing and recordation any of the foregoing
instruments or other documents without the payment of any such tax or governmental
assessment
9.9. Headings

Headings are used in the Plan for convenience and reference only, and shall not

constitute a part of the Plan for any other purpose

9.10, Exhibits.

All exhibits and schedules to the Plan are incorporated into and are a part of the
Plan as if set forth in full herein

9.11. Filing of Additional Documents.

On or before substantial Consummation of the Plan, the Debtors may file with the

Bankruptcy Court such agreements and other documents as may be necessary or

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appropriate to reasonably effectuate and further evidence the terms and conditions of the

Plan.

Respectfully submitted,

/s/ J. Steven Ford

J. Steven Ford

Wilson, Harrell, Farrington, Ford,
Wilson, Spain, & Parsons P.A.
Attorneys at Law

307 South Palafox Street
Pensacola, FL 32502

(850) 438-1111 Telephone

(850) 432-8500 Facsimile
Counselfor the Debtors and

/s/ Robert C. Grete
Robert C., Grete

/s/ Tiffanv L. Grete
Tiffany L. Grete

CERTIFICATE OF SERVICE
I DO HEREBY CERTIFY that a true and correct copy of the foregoing

Amended Plan was sent to all parties appearing of interest on Debtor's mailing matrix
via El\/l/ECF on this 27th day of January, 2014.

/s/ J. Steven Ford
J. Steven Ford

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